                                                                         CLERK'
                                                                              S OFFIIJE.'
                                                                                         JwL.u
                                                                                             '.t.'
                                                                                                 3'
                                                                                                  i
                                                                               ATRGF NOKE,bl% . i-'-ak-lt717.r
                                                                                      ILED
                    IN T H E UN ITED STATE S D ISTRICT COU RT                    D         j 2gîj
                    FO R TH E W E STERN D ISTRICT O F W RGIN IA              J     c x
                                RO AN O U D IW SIO N                      k
                                                                          !E
                                                                           l'
                                                                            !1
                                                                             /
                                                                             :
                                                                             t      - ,
                                                                                      1               l$
                                                                                                       ;
                                                                                                       tl4
                                                                                                         1
                                                                                                         7
                                                                                       'Y ..,g&q,k'
                                                                                      ,,

 N ATION W ID E M UTU AL
 IN SU RAN CE CO .,

       Plaintiff,
                                               CivilAction N o.7:17-cv-00348

 V.


 STARKJONES,
 D GW EN TE RPRISE S,LLC

 and

 FEED IN G AM E RICA
 SO UT H W E ST W RG IN IA ,                   By: M ichaelF.U tbansld
                                                      United StatesDistrictJudge
       D efendants.

                                        O RD ER

       Tlzism atterwaszeferred to theH onorableRobertS.Ballou,United StatesM agistrate

 Judge,pursuantto28U.S.C.j6369$(3).TheM agisttateJudgefzedareportand
 recom m endaéon on N ovem ber13,2018,recom m ending thatFeedingA m erica Southwest

 Vizginia's(FeedingAmerica's)motion forentt'yofdefaultjudgmentbegranted andthat
 FeedingA m ericabe aw arded Eleven Thousand Thtee Hundted and SeventyFourD ollars

 ($11,374.00)inattorneys'fees.Noobjecéonstothereportandrecommendationhavebeen
 filed,and thecourtisofthe opirlion thatthereportand recom m endation should beadopted

 in itsentirety.A ccordingly,itisO RD ERE D thatsaid zeportand the findingsand

 recommendation contained therein (ECF No.25)arehezebyACCEPTED IN W H OLE,
 FeeclingAmezica'smotion forentc ofdefaultjudgmentisGRANTED,and attorneys'fees

Case 7:17-cv-00348-MFU-RSB Document 53 Filed 12/11/18 Page 1 of 2 Pageid#: 362
 areawatded.A sthisozdezresolvesthe only issuerem aining in thiscase,Feeding Am erica's

 crosscleim ,itisO RD E RE D thatthecaseisdisrnissed and stricken from the docketofthe

 couêt.

          Itisso O RD ERED .



                                         Entered: /        //-- D o td

                                      /+/         '                              '
                                         M ichaelF.Urba      ,.
                                         UnitedStates isttictludge




Case 7:17-cv-00348-MFU-RSB Document 53 Filed 12/11/18 Page 2 of 2 Pageid#: 363
